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                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
                                  ________________________

                                       No. 22-11287-X
                                  ________________________

HEALTH FREEDOM DEFENSE FUND,
a Wyoming Not-for-Profit Corporation,
ANA CAROLINA DAZA,
an individual,
SARAH POPE,
an individual,
                                                  Plaintiffs - Appellees,

versus

PRESIDENT OF THE UNITED STATES,
SECRETARY OF HEALTH AND HUMAN SERVICES,
THE CENTERS FOR DISEASE CONTROL, et al.,

                                               Defendants - Appellants.
                                  ________________________

                           Appeal from the United States District Court
                               for the Middle District of Florida
                                 ________________________

ORDER:

         The State Amici’s motion for leave to participate in oral argument is GRANTED.

         The State Amici’s motion for additional ten (10) minutes per side for oral argument, with

Appellants receiving twenty-five (25) minutes, Appellees receiving fifteen (15) minutes, and State

Amici receiving ten (10) minutes is GRANTED.



                                                                               DAVID J. SMITH
                                                               Clerk of the United States Court of
                                                                 Appeals for the Eleventh Circuit

                                               ENTERED FOR THE COURT - BY DIRECTION
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